          Case 3:11-cr-00241-DRD        Document 3367         Filed 02/13/13       Page 1 of 6



 1                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
                           Plaintiff,
 5
                               v.
 6                                                                 CRIMINAL:11-241 (DRD)
 7        [85] AXEL ALAMEDA-REYES,

 8                        Defendant.
 9
10
                      MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
11                        RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
12
     I.       Procedural Background
13
              On September 19, 2011, a grand jury returned a superseding indictment against [85] Axel
14
     Alameda-Reyes (hereinafter referred to as “defendant”) and other individuals. (Docket No. 582.) The
15
     defendant has agreed to plead guilty to count one of the superseding indictment. Count one charges
16
     that from in or about the year 1998, and continuing up to and until the return of the indictment, in the
17
     District of Puerto Rico, specifically in the Municipality of San Juan, La Perla Ward, and elsewhere
18
     within the jurisdiction of this court, Axel Alameda-Reyes and others did knowingly and intentionally,
19
     combine, conspire, and agree to commit an offense against the United States, that is, to knowingly and
20
     intentionally possess with intent to distribute and distribute controlled substances, to wit: in excess of
21
     one (1) kilogram of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)
22
     kilograms of cocaine, a Schedule II, Narcotic Drug Controlled Substance; in excess of one thousand
23
     (1,000) kilograms of marihuana, a Schedule I, Controlled Substance; a detectable amount of oxycodone
24
     (commonly known as “Percocet”), a Schedule II Controlled Substance; and/or a detectable amount of
25
     alprazolam (commonly known as “Xanax”), a Schedule IV Controlled Substance; within one thousand
26
     (1,000) feet of the real property comprising a public school as prohibited by Title 21, United States
27
     Code, Sections 841(a)(1) and 860, all in violation of Title 21, United States Code, Section 846.
28
       Case 3:11-cr-00241-DRD            Document 3367          Filed 02/13/13      Page 2 of 6



 1                                                        2
 2   II.      Consent to Proceed Before a Magistrate Judge
 3            On February 8, 2013, while assisted by counsel, the defendant, by consent, appeared before the
 4   undersigned in order to change his previous not guilty plea to a plea of guilty as to count one of the
 5   superseding indictment. In open court the defendant was questioned as to the purpose of the hearing
 6   being held and was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
 7   were to be conducted under oath and that it was expected that his answers would be truthful; (c) the
 8   potential consequences of lying under oath (such as a perjury charge); and (d) his right to have the
 9   change of plea proceedings presided by a district judge instead of a magistrate judge. The defendant
10   was also explained the differences between the appointment and functions of the two. The defendant
11   consented to proceed before the undersigned magistrate judge.
12   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
13            A.     Rule 11(c)(1) Requirements
14                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
15            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
16            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
17            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
18            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
19
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
20
              B. Admonishment of Constitutional Rights
21
              To assure defendant’s understanding and awareness of his rights, defendant was advised of his
22
     right:
23
              1.   To remain silent at trial and be presumed innocent, since it is the government who has the
24
     burden of proving his guilt beyond a reasonable doubt.
25
              2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
26
     to his decision not to testify.
27
28
      Case 3:11-cr-00241-DRD            Document 3367          Filed 02/13/13      Page 3 of 6



 1                                                       3
 2           3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
 3   cross examine the government witnesses, present evidence on his behalf, and challenge the
 4   government’s evidence.
 5           4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
 6   convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
 7           5.   To use the subpoena power of the court to compel the attendance of witnesses.
 8           Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
 9   attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
10   that defendant is aware of his constitutional rights.
11           C. Consequences of Pleading Guilty
12           Upon advising defendant of his constitutional rights, he was further advised of the consequences
13   of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
14   guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
15   his statement that he is guilty.
16           In response to further questioning, defendant was explained and he understood that if convicted
17   on count one as charged he will face not more than twice the following penalties: a term of
18   imprisonment of not less than ten (10) years or more than life, a fine not to exceed $10,000,000, and
19   a term of supervised release of at least five (5) years. However, if the court accepts the defendant’s
20   guilty plea and if the court accepts the amount of narcotics stipulated by the parties in the plea
21   agreement, that is at least five hundred (500) grams but less than two (2) kilograms of cocaine, the
22   defendant is exposed to twice the following penalties for the offense: a term of imprisonment of not less
23   than five (5) years and not more than forty (40) years, a fine not to exceed $5,000,000, and a term of
24   supervised release of at least four (4) years.
25           The defendant was explained what the supervised release term means and was also made aware
26   that the court must impose a mandatory penalty assessment of one hundred dollars ($100) per offense
27   pursuant Title 18, United States Code, Section 3013(a).
28
       Case 3:11-cr-00241-DRD                 Document 3367            Filed 02/13/13   Page 4 of 6



 1                                                                4
 2               The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 3   in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 4   him, he later could not withdraw his guilty plea for that reason alone. Furthermore, the defendant was
 5   admonished of the fact that by pleading guilty he would not be allowed later on to withdraw his plea
 6   because he eventually might disagree with the sentence imposed, and that if he violates the conditions
 7   of supervised release, that privilege could be revoked and he could be required to serve an additional
 8   term of imprisonment. He was also explained that parole has been abolished. The defendant understood
 9   this.
10               D. Plea Agreement1
11               The parties have entered into a written plea agreement that, upon being signed by the
12   government, defense attorney and defendant, was filed and made part of the record. Defendant was
13   clearly warned and recognized having understood that:
14               1.   The plea agreement is not binding upon the sentencing court.
15               2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
16   for the government which is presented as a recommendation to the court in regards to the applicable
17   sentencing adjustments and guidelines, which are advisory.
18               3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
19   guideline computation, that can be either accepted or rejected by the sentencing court.
20               4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
21   sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
22   maximum possible penalty prescribed by statute.
23               Defendant acknowledged having understood these explanations.
24
25
26
27
28           1
                       “Plea agreement” refers to the agreement and its supplement.
      Case 3:11-cr-00241-DRD               Document 3367         Filed 02/13/13       Page 5 of 6



 1                                                          5
 2              E. Government's Evidence (Basis in Fact)
 3              The government presented a proffer of its evidence consistent with the version of facts of the plea
 4   agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
 5   and evidence to establish all the elements of the offense charged.
 6              F. Voluntariness
 7              The defendant accepted that no threats had been made to induce him to plead guilty and that he
 8   did not feel pressured to plead guilty.
 9              G. Waiver of Appeal
10              The defendant was explained, and he understood, that if the court accepts the plea agreement and
11   sentences him according to its terms and conditions, he will be surrendering his right to appeal the
12   sentence and judgment in this case.
13   IV.        Conclusion
14              The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
15   Criminal Procedure, and has entered a plea of guilty as to count one of the superseding indictment. After
16   cautioning and examining the defendant under oath and in open court, concerning each of the subject
17   matters mentioned in Rule 11, as described in the preceding sections, I find that defendant is competent
18   to enter this guilty plea, is aware of the nature of the offense charged and the maximum statutory
19   penalties that the same carries, understands that the charge is supported by the government’s evidence,
20   has admitted to every element of the offense charged, and has done so in an intelligent and voluntary
21   manner with full knowledge of the consequences of his guilty plea. Therefore, I recommend that the
22   court accept the guilty plea of the defendant and that the defendant be adjudged guilty as to count one
23   of the superseding indictment.
24              This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections
25   to the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its
26   receipt.     Fed. R. Civ. P. 72(b).       Failure to timely file specific objections to the report and
27
28
      Case 3:11-cr-00241-DRD           Document 3367       Filed 02/13/13    Page 6 of 6



 1                                                    6
 2   recommendation is a waiver of the right to review by the district court. United States v. Valencia-
 3   Copete, 792 F.2d 4 (1st Cir. 1986).
 4          SO RECOMMENDED.
 5          At San Juan, Puerto Rico, this 12th day of February, 2013.
 6
                                                                s/Marcos E. López
 7                                                              U.S. Magistrate Judge
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
